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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

IN RE: ALEXANDER E. JONES                                §
                                                         §             CASE NO. 22-33553 (CML)
                                                         §
                   Debtor.                               §             Chapter 7


      NOTICE OF STATUS OF CONNECTICUT AND TEXAS APPEALS INCLUDING
        RECENT FILING OF CONNECTICUT PETITION FOR CERTIFICATION


TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE CHRISTOPHER LOPEZ:

          Pursuant to this Court’s Notice of Status Conference, Alexander E. Jones (“Jones”) and

Free Speech Systems, LLC (“FSS”) hereby provide this notice regarding status of appeals in

Connecticut and Texas, respectively.

          Connecticut

           1.     As this Court knows the Connecticut Court of Appeals issued its opinion on or

    around December 10, 2024 [Lafferty v. Jones, 229 Conn. App. 487, 490 (2024)]. Appeal to the

    Connecticut Supreme Court is not a matter of right but by discretionary Petition for Certification

    (“PFC”), filing of which was required within a short time frame after the appellate decision was

    entered. Jones and FSS received one extension to file their PFC generally because of the holidays

    and Jones and FSS received a second extension which was not opposed by the Connecticut

    Plaintiffs. Exhibit 2. Attached hereto as Exhibit 1 is a copy of the PFC filed by Jones and FSS

    jointly on January 21, 2025, AC 46131, AC 46132, and AC 46133, styled Erica Lafferty, et al.

    v. Alex E. Jones, et al.1 The Connecticut Plaintiffs response would have been due on or around



1
 The PFC filing was explicitly and implicitly approved by this Court (as will be explained in a filing Jones and FSS
will be submitted shortly) and required to avoid an abandonment of appellate rights which this Court has not
authorized. The attached PFC does not include the voluminous appendices which can be provided on request.


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January 31, 2025 but they requested and were given the non-opposition of Jones and FSS to their

motion for extension, such that their response to the PFC of Jones and FSS is now believed to be

due February 7, 2025.

        Texas

        2.      As to Texas, the Texas state trial court entered its Judgment against Jones and FSS

on January 12, 2023. On November 10, 2023, Jones and FSS filed their Appellants’ Opening Brief

in the Austin Court of Appeals. See Exhibit 3 hereto. On May 15, 2024, after numerous filing

extensions the two Texas parties with judgments filed a Motion to Abate the Texas appeal (abating

their obligation to file their Opening Brief) to allow time for settlement talks. Exhibit 4. On

December 31, 2024, the Texas Plaintiffs notified the Austin Court of Appeals that abatement was

no longer agreed, resulting in the Court of Appeals terminating the abatement. Exhibit 5. As a

result, the Texas parties were told to file their Opening Appellate Brief, now due on March 31,

2025.

        WHEREFORE, Alexander E. Jones and Free Speech Systems, LLC file this in response to

this Court’s notice of a status conference for January 31, 2025 at 11:00 AM and his counsel will

be in attendance remotely.

Dated: January 30, 2025                       Respectfully Submitted,

                                              /s/ Shelby A. Jordan
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                                CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing pleading was served upon all parties
registered to receive notices via the Court’s ECF noticing system on January 30, 2025 as well as
the following parties.

                                             /s/ Shelby A. Jordan
                                             Shelby A. Jordan




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